                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                                  Nos.    3:06-CR-74-3-BR
                                                          3:06-CR-403-BR


UNITED STATES OF AMERICA,                         )
                                                  )
              v.                                  )              ORDER
                                                  )
                                                  )
SAMUEL THOMAS CURRIN                              )
                                                  )


       The hearing on the government’s Rule 35 motions is hereby SET for 13 July 2009 at 9:00

a.m., Federal Courthouse and Building, 310 New Bern Avenue, Courtroom 2, Raleigh, North

Carolina. Defendant’s presence is NOT required at the hearing.

       This 22 May 2009.




                                           __________________________________
                                                 W. Earl Britt
                                                 Senior U.S. District Judge




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